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                      UNITED STATES DISTRICT COURT
                                 FOR THE
                           DISTRICT OF VERMONT

UNITED STATES OF AMERICA            :
                                    :
                                    :
            v.                      :     Crim. No. 2:11-cr-161-1
                                    :
KENNETH L. MILLER,                  :
                                    :
            Defendant.              :

                      Memorandum and Order: Intent

     The Government has requested advance notice of the Court’s

intended jury instructions on intent in this case.

     Defendant Kenneth L. Miller has been charged in a one-count

indictment with aiding and abetting Lisa Miller1 in the removal

of a child from the United States with the intent to obstruct the

lawful exercise of parental rights, in violation of sections 1204

and 2 of the United States Code.         The Government expects to prove

that Lisa Miller and her former civil union partner Janet Jenkins

were engaged in a lengthy court battle over visitation rights

with IMJ, a child born to Lisa Miller in 2002 during the period

of her union with Jenkins.        Litigation continued in Vermont and

Virginia for several years, during which time Lisa Miller, who

had been granted temporary legal and physical rights and

responsibilities for IMJ, repeatedly ignored court-ordered

visitation between IMJ and Jenkins.         The Virginia Court of

Appeals and the Virginia Supreme Court confirmed the Vermont



     1
         Kenneth Miller and Lisa Miller are not related.
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courts’ jurisdiction over the issues of custody and visitation.

In June 2007 the Vermont family court granted sole physical and

legal custody of IMJ to Lisa Miller, subject to Jenkins’s

visitation rights, but warned Miller that continued interference

with visitation could warrant a change in custody.

     Lisa Miller did not comply with the family court’s

visitation order, nor did she permit Jenkins to see IMJ.          Instead

she took IMJ out of the country, first traveling by automobile to

Canada, and then flying from Canada to Nicaragua.         Some months

later, when it was apparent that Lisa Miller had removed IMJ from

the United States, the family court assigned sole physical and

legal custody of IMJ to Janet Jenkins.

     The Government expects to show that Kenneth Miller, a

Mennonite pastor and resident of Virginia, acted to assist Lisa

Miller in removing IMJ from the United States.        He did so by

contacting other members of the Mennonite community in Canada and

in Nicaragua and arranging for Lisa and IMJ’s travel to

Nicaragua.

     The Government anticipates that intent will be a key issue

at trial.    Having examined the Government’s proposed instructions

and the Defendant’s objections, the Court advises the parties

that it intends to instruct on intent as follows:

          The third element the government must prove beyond
     a reasonable doubt is that Lisa Miller acted with the
     intent to obstruct the lawful exercise of parental
     rights of Janet Jenkins. The term “parental rights”

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      means the right to physical custody of the child. This
      includes the right to sole physical custody of the
      child, the right to joint physical custody of the
      child, and the right to visitation with the child.
      Those rights may arise by court order, legally binding
      agreements of the parties, or by operation of law. The
      term “obstruct” means to hinder or impede.
           To find that Lisa Miller acted with the intent to
      obstruct the lawful exercise of parental rights, you
      must find that she acted deliberately with the purpose
      of interfering with the parental rights of Janet
      Jenkins. You may consider all of the evidence of Lisa
      Miller’s acts in determining whether the government has
      proven beyond a reasonable doubt that she acted with
      this intent.

      The instruction essentially follows Instruction 42-20 of

Sand’s Modern Federal Jury Instructions.        Leonard B. Sand, et.

al.   Modern Federal Jury Instructions 42-47 (2011).

      The Government has argued that this crime may be committed

with the intent to hinder the exercise of future parental rights,

and that the jury instruction should reflect that concept.             The

Court disagrees.    While it is likely that many if not most

parental kidnapping offenses will affect the exercise of future

or anticipated parental rights because the offending parent has

removed the child in violation of existing rights, the statute

criminalizes the intent generally to obstruct the lawful exercise

of those existing parental rights.       The Court believes that the

Sand instruction adequately conveys the concept, without further

specifying that the statute may be violated merely by removing

one’s future ability to exercise anticipated parental rights.




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     Kenneth Miller is charged with aiding and abetting Lisa

Miller in the commission of the offense of international parental

kidnapping.   The Court intends to instruct on aiding and abetting

as follows:

          Under the aiding and abetting statute, it is not
     necessary for the government to show that Kenneth
     Miller himself physically committed the crime with
     which he is charged in order for the government to
     sustain its burden of proof. A person who aids or
     abets another to commit an offense is just as guilty of
     that offense as if he committed it himself.
          Accordingly, you may find Kenneth Miller guilty of
     the offense charged if you find beyond a reasonable
     doubt that the government has proven that another
     person, in this case Lisa Miller, actually committed
     the offense of international parental kidnapping, and
     that Kenneth Miller aided or abetted Lisa Miller in the
     commission of the offense.
          As you can see, the first requirement is that you
     find that another person, in this case Lisa Miller, has
     committed the crime of international parental
     kidnapping. Obviously, no one can be convicted of
     aiding or abetting the criminal acts of another if no
     crime was committed by the other person in the first
     place. But if you do find that a crime was committed,
     then you must consider whether Kenneth Miller aided or
     abetted the commission of that crime.
          In order to aid or abet another to commit a crime,
     it is necessary that a defendant knowingly associate
     himself in some way with the crime, and that he
     participate in the crime by doing some act to help make
     the crime succeed. A defendant need not know all of
     the details of the crime committed by the other person.
          To establish that Kenneth Miller knowingly
     associated himself with the crime of international
     parental kidnapping, the government must establish that
     he intended to obstruct the lawful exercise of parental
     rights.
          To establish that Kenneth Miller participated in
     the commission of the crime of international parental
     kidnapping, the government must prove that he engaged
     in some affirmative conduct or overt act for the
     specific purpose of bringing about the crime.
          The mere presence of a defendant where a crime is

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     being committed, even coupled with his knowledge that a
     crime is being committed, or merely associating with
     others who were committing a crime is not sufficient to
     establish aiding and abetting. One who has no
     knowledge that a crime is being committed or is about
     to be committed but inadvertently does something that
     aids in the commission of that crime is not an aider
     and abettor. An aider and abettor must know that the
     crime is being committed and act in a way which is
     intended to bring about the success of the criminal
     venture.
          To determine whether Kenneth Miller aided or
     abetted the commission of the crime of international
     parental kidnapping, ask yourself these questions:
          Did he participate in the crime charged as
     something he wished to bring about?
          Did he knowingly associate himself with the
     criminal venture?
          Did he seek by his actions to make the criminal
     venture succeed?
          If he did, then Kenneth Miller is an aider and
     abettor and therefore guilty of the offense. If,
     however, your answer to any one of these questions is
     “no,” then Kenneth Miller is not an aider and abettor,
     and you must find him not guilty.

See Sand 11-4.

     Although the Court has rejected the portion of the

Government’s proposed instruction concerning interference with

the exercise of future parental rights, the Court reiterates that

evidence of various individuals’ attempts to thwart an

anticipated transfer of physical and legal custody from Lisa

Miller to Janet Jenkins remains relevant to the jury’s

determination of whether the essential elements of aiding and

abetting an international parental kidnapping have been proven.




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     Dated at Burlington, in the District of Vermont, this 7th

day of August, 2012.


                           /s/ William K. Sessions III__________
                           William K. Sessions III
                           United States District Court




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